           Case: 25-1566          Document: 11          Page: 1       Date Filed: 04/09/2025




                    United States Court of Appeals for the Third Circuit


                              Corporate Disclosure Statement and
                                Statement of Financial Interest

                                                   25-1566
                                       No. _________
                 Atlas Data Privacy Corporation, et al.



                                                           v.
                 Innovis Data Solutions, Inc.



                                                 Instructions

                 Pursuant to Rule 26.1, Federal Rules of Appellate Procedure any nongovernmental
corporate party to a proceeding before this Court must file a statement identifying all of its parent
corporations and listing any publicly held company that owns 10% or more of the party’s stock.

                  Third Circuit LAR 26.1(b) requires that every party to an appeal must identify on the
Corporate Disclosure Statement required by Rule 26.1, Federal Rules of Appellate Procedure, every
publicly owned corporation not a party to the appeal, if any, that has a financial interest in the outcome of
the litigation and the nature of that interest. This information need be provided only if a party has
something to report under that section of the LAR.

                  In all bankruptcy appeals counsel for the debtor or trustee of the bankruptcy estate shall
provide a list identifying: 1) the debtor if not named in the caption; 2) the members of the creditors’
committee or the top 20 unsecured creditors; and, 3) any entity not named in the caption which is an
active participant in the bankruptcy proceedings. If the debtor or the bankruptcy estate is not a party to the
proceedings before this Court, the appellant must file this list. LAR 26.1(c).

                The purpose of collecting the information in the Corporate Disclosure and Financial
Interest Statements is to provide the judges with information about any conflicts of interest which would
prevent them from hearing the case.

                  The completed Corporate Disclosure Statement and Statement of Financial Interest Form
must, if required, must be filed upon the filing of a motion, response, petition or answer in this Court, or
upon the filing of the party’s principal brief, whichever occurs first. A copy of the statement must also be
included in the party’s principal brief before the table of contents regardless of whether the statement has
previously been filed. Rule 26.1(b) and (c), Federal Rules of Appellate Procedure.

                 If additional space is needed, please attach a new page.


                                                (Page 1 of 2)
               Case: 25-1566   Document: 11        Page: 2   Date Filed: 04/09/2025




                                                         Innovis Data Solutions, Inc.
Pursuant to Rule 26.1 and Third Circuit LAR 26.1,
makes the following disclosure:                                     (Name of Party)

              1) For non-governmental corporate parties please list all parent
corporations: CBC Companies, Inc.


              2) For non-governmental corporate parties please list all publicly held
companies that hold 10% or more of the party’s stock:
None. Innovis's parent corporation - CBC Companies, Inc. - owns 100% of Innovis's
stock and is privately held.




               3) If there is a publicly held corporation which is not a party to the
proceeding before this Court but which has as a financial interest in the outcome of the
proceeding, please identify all such parties and specify the nature of the financial
interest or interests:
None.




               4) In all bankruptcy appeals counsel for the debtor or trustee of the
bankruptcy estate must list: 1) the debtor, if not identified in the case caption; 2) the
members of the creditors’ committee or the top 20 unsecured creditors; and, 3) any
entity not named in the caption which is active participant in the bankruptcy proceeding.
If the debtor or trustee is not participating in the appeal, this information must be
provided by appellant.
This is not a bankruptcy appeal.




/s/ Jason A. Spak                                        Dated:   4/9/25
(Signature of Counsel or Party)


rev: 09/2014                       (Page 2 of 2)
